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Attorney for Plaintiffs, Local 807 Labor- Management Health and Profit-Sharing Funds

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

LOCAL 807 LABOR-MANAGEMENT CIVIL ACTION

)
HEALTH AND PROFIT-SHARING FUNDS, )

) DOCKET NO.:

Le )
Plaintiffs, ) PETITION TO CONFIRM ARBITRATION
VS. ) AWARD

P3 TRANSPORTATION LLC

)

)

)

Defendant

 

Plaintiffs, Local 807 Labor-Management Health and Profit-Sharing Funds
(“Funds”) by their undersigned attorneys, as and for their Petition, allege and say:

1. The Funds petition this Court for an Order pursuant to the Federal
Arbitration Act, (“FAA”), 9 U.S.C.A. §§ 9 and 13, confirming the award of the Arbitrator
issued in favor of Petitioners on January 22, 2020, and directing that judgment be entered
accordingly. This Petition is made on the following grounds.

2. At all times relevant, the Funds were, and still are, trust funds within the
meaning of Section 302(c)(5) of the Labor Management Relations Act, (““LMRA”), 29
U.S.C. § 186(c)(5), and employee benefit plans within the meaning of the Employee
Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1132(e) and (f), and are
administered at 32-43 49" Street, Long Island City, New York 11103.

3. The Trustees of the Funds are fiduciaries within the meaning of Section
3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A). The Trustees maintain their principal place

of business at 32-43 49" Street, Long Island City, New York 11103.
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4. Upon information and belief, at all times relevant, Defendant, P3
Transportation LLC (“Defendant”) is, and still is, a business entity duly organized and
existing under the laws of the State of New Jersey, with a principal office located at 14
Susie Lane, Jackson, New Jersey 08527.

5. The jurisdiction of this Court is based upon Section 502(e) and (f) and
ERISA, as amended, 29 U.S.C. § 1132(e) and (f), and FAA, 9 U.S.C.A. § 9. Venue
properly lies in this District pursuant to 29 U.S.C. § 1132(e)(2) because the action is
brought in the jurisdiction where the breach took place or where the Defendant may be
found.

6. Defendant was a signatory to a collective bargaining agreement (CBA)
with Truck Drivers Local 807, IBT (“Union”).

7. The CBA requires Defendant to make certain payments to the various
Funds.

8. Defendant is also bound by the Declaration of Trust of the Funds which
require penalties whenever contributions to the Funds are not remitted.

9. Based upon the Trust Agreements, Defendant is to be assessed interest,
liquidated damage of 20 percent, attorney’s fees and cost of arbitration fees.

10. After finding that Defendant was duly notified of the hearing and
considering all of the evidence presented in connection therewith, the Permanent
Arbitrator, Earl Pfeffer, issued an award in writing against the Defendant. A copy of the
award is attached hereto as Exhibit A.

11. With the award, the Arbitrator directed Defendant to make certain

payments in the amount of $144,920.98, made up of judgments in favor the Profit

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Sharing Plan in the amount of $57,075.58 and, in favor of the Health Fund in the amount
of $87,845.40.

12. The Arbitrator promptly served a copy of the award upon Defendant.
Notwithstanding the Decision and Award of the Arbitrator and notice of the same,
Defendant has failed and refused in all respects, and continues to fail and refuse in all
respects, to comply with the Decision and Award issued by the arbitrator.

WHEREFORE, Plaintiffs pray for the following relief:

(a) An Order confirming the Arbitration Award;

(b) Entry of a judgment or decree by the clerk which may be enforced as any
other judgment or decree;

) Costs of this petition and of all subsequent proceedings and
disbursements;

(d) Costs, attorney’s fees, and interest thereupon, as provided by law; and

(e) Such other relief as the Court deems equitable.

NEW & KARFUNKEL, P.C.
Attorney for Plaintiff

By: Oeud DIA 0 (dup yy

BENJAMIN A. KARBUNKEL

 

Dated: January 29, 2020
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In the Matter of the Arbitration x
between x

LOCAL 807 LABOR-MANAGEMENT HEALTH, X
AND PROFIT-SHARING FUNDS

x
“Funds”
x
~and-
x
P3 TRANSPORTATION LLC
x
“Employer”
meme me Xx
APPEARANCES
FOR THE FUNDS
NEW & KARFUNKEL PC
Benjamin Karfunkel, Esq.
FOR THE EMPLOYER
Philip R. Rueck, CEO
BEFORE: Earl R. Pfeffer, Arbitrator

EXHIBIT

 
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DISCUSSION AND FINDINGS

This arbitration involves a dispute between the Trustees of
the Local 807 Labor-Management Health Fund (“Health Fund”) and
the Local 807 Profit Sharing Plan (“Profit Sharing Plan”)
(collectively, the “Funds”) and P3 Transportation LLC (the
“Employer”) concerning the Employer’s failure and refusal to pay
contributions to the Funds in accordance with its obligations
under its Collective Bargaining Agreement (“CBA”) with Teamsters
Local 807 (the “Union”), the Amendment and Restatement of the
Agreement and Declaration of Trust for the Local 807 Profit
Sharing Plan (“Profit Sharing Plan Trust Agreement”), the
Restated and Amended Agreement and Declaration of Trust for the
Local 807 Labor-Management Health Fund (“Health Fund Trust
Agreement”) and the Settlement Agreement dated March 11, 2019,
between the Employer and the Profit Sharing Plan. An arbitration
hearing was convened at the Funds Offices in Long Island City,
New York, on December 4, 2019, at which the Funds, through its
attorneys, presented evidence and argument in support of its
claims for the unpaid contributions and for the interest, damages
and costs the Employer is required to pay under the terms of the
CBA and the governing Trust Agreements.

The Employer, represented by its CEO, Philip R. Rueck, did
not contest the Funds’ claims or dispute any of the evidence

presented through the sworn testimony of Fund Manager Teresa
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Casanova.’

Based upon the foregoing and my review of the arbitration
record, I make the following findings of fact:

1. On or about June 1, 2017, the Employer entered into the
CBA, under which it agreed, in Article 19, to
participate in the Health Fund and in the Profit
Sharing Fund. Article 19 requires payment of
prescribed periodic contributions to the Health Fund
and the Profit Sharing Plan.

2. Under Article 19.3, the Employer has agreed “to abide
by all rules and regulations established by the
Trustees of such Funds.”

3. Under Article I, Section 11, and Article VI, Section
l(a), of the Profit Sharing Plan Trust Agreement, the
Employer is required to make contributions to the Plan
under the terms stated in the CBA. Those contributions
are “an absolute obligation to the Plan,” and under
Article VI, Section 1i(b), the Employer “shall submit
Contributions to the Plan no later than the 20°
calendar day of each month for all payroll periods
during the preceding calendar month.” So, too, “{[t]he
Employer shall complete and sign the Plan’s Remittance
Report Forms each month, regardless of whether it is
submitting any Contributions for the month, and shall
submit same along with the Contributions ”

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Article VI, Section 2(a) of the Profit Sharing Plan
Trust Agreement, states the Trustees “shall have the
power to demand, collect and receive Employer
Contributions and all other payments, money and
property to which the Plan may be entitled.”

 

‘Mr. Rueck admitted the delinquency of the unpaid
contributions, which is acknowledged in the Settlement Agreement
and in subsequently submitted Remittance Reports. Joint Exhibits
8 and 9. The sole defense offered by the Employer is an
inability to pay, which Mr. Rueck sought to demonstrate through
the cover sheet of a bank statement from Investors Bank (Account
No. 1000491507), Employer Exhibit 1, and Revenue Spreadsheet he
prepared for the period January 2019 through November 2019.
Employer Exhibit 2. Those submissions, I find, are not relevant
to the issues before me.
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5. Under Article VI, Section 2(b) of the Profit Sharing
Plan Trust Agreement, a failure by the Employer to pay
Contributions when due, is a violation of the CBA and
of its obligations under that Trust Agreement, and the
Employer is liable for: (i) any unpaid or late
Contributions; (ii) interest at the rate of eighteen
(18) percent per year on any unpaid or late
Contributions; (iii) liquidated damages in an amount
equal to twenty (20) percent of the unpaid or late
Contributions; and (iv) costs, including but not
limited to attorneys’ fees and costs which accrue or
are incurred in collecting the late or unpaid
Contributions, and auditor’s fees.

6. Under Article VI, Section 2(c) and 2(e) of the Profit
Sharing Plan Trust Agreement, the Employer agrees that
its obligation to pay Contributions as well as
interest, damages and costs, including arbitrator's
fees, may be enforced through arbitration, and an
arbitration award in favor of the Employer shall
require the payment of same and “such other relief that
may be requested by the Trustees” or deemed appropriate
by the arbitrator.

7. The Employer has corresponding obligations under the
Health Fund Trust Agreement. In particular, it is
obligated under Article I, Section 1(a) and Article IV,
Section l(a) of said Agreement, to pay Contributions to
the Health Fund in the amounts stated in the CBA. The
Employer has agreed those Contributions “constitute an
absolute obligation to the Fund.” Under Article IV,
Section 3(b), Contributions are Fund assets from the
date they are due, and the failure to pay them is a
violation of the CBA as well as of the Health Fund
Trust Agreement.

8. The Trustees of the Health Fund, under Article IV,
Section 3(a) and 3(c), are empowered to demand, collect
and receive amount due, and to commmence legal
proceedings, including arbitration, for the purpose of
enforcing the Employer’s obligations to pay required
Contributions, as well as interest, damages and costs
associated with enforcing those obligations.

9, Under Article IV, Section 3(e), an arbitration award in
favor of the Trustees of the Health Plan shall require
the Employer pay, (i) any unpaid or late Contributions;
(ii) interest at the rate of eighteen (18) percent per

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year; and (iii) liquidated damages equal to twenty (20)
percent of the unpaid or late Contributions.

10. On or about March 11, 2019, the Employer and the Profit
Sharing Fund entered into the Settlement Agreement,
whereunder P3 agreed, in resolution of a claim for
unpaid Contributions during the period January 2018
through February 2019, immediately to pay the Fund
$34,005.72, and also, beginning April 7, 2019, and
thereafter for the next eight (8) months on the seventh
(7°) day of each month, to make payments of
$12,202.26. The Employer additionally agreed to pay
the $1,200.00 cancellation fee for the arbitration
which was adjourned when the parties entered into the
Settlement Agreement.*

ll. In paragraph 1 of the Settlement Agreement, the
Employer further agreed,

In the event that P3 is late, by more than 10
days in any of these payment[s], without
notice required by the Fund, the entire
amount due shall be accelerated and
immediately due, minus any payments
previously made in this Settlement. In
addition, the Fund may seek additional
interest at 18% per annum and reasonable
counsel fees and costs incurred in the
enforcement of the Agreement.

12. Casanova testified the last payment the Funds received
from the Employer under the Settlement Agreement was on
or about August 7, 2019. Accordingly, she explained, the

 

*My July 22, 2019, bill for the cancellation, Invoice No. G-
3239 for §1,200.00 (Joint Exhibit 4), was paid by the Funds,
which now, through this arbitration, seeks reimbursement
consistent with the terms of the governing agreements. I find
reimbursement is appropriate. In addition, I have submitted to
the Funds, copies, affixed hereto as Attachments A and B, of my
Invoices Nos. G-3339 (to the Health Fund) and G-3340 (to the
Profit Sharing Plan) for $1,800.00 each, in the combined amount
of $3,600.00 for the December 4, 2019, arbitration and for my
preparation of this Opinion and Award. Accordingly, the total
costs in arbitration fees billed to the Punds in connection with
this dispute, and for which it seeks reimbursement, is $4,800.00.

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Funds still remains obligated to the Profit Sharing Plan
under the Settlement Agreement for four (4) payments of
$12,202.26 each, for the period September 7, 2019,
through December 7, 2019, for a total of $48,809.04, plus
interest at 18% per annum on the unpaid balance.
According to Casanova, and as reflected in a spread sheet
entered into evidence as Joint Exhibit 10, the interest
due on the unpaid Settlement Agreement installments,
through the date of the hearing, December 4, 2019, was
$2,928.54.

13. In addition, I have determined to assess one-half (%) of
the attorneys fees charged for the preparation and
presentation of this arbitration as moneys owed to the
Profit Sharing Plan. Similarly, one-half of my
arbitration fees are properly chargeable to the Employer
as sums owed the Profit Sharing Plan. Accordingly, the
Employer is liable to the Profit Sharing Plan for
$2,400.00 in arbitration fees, and for $2,938.00 in
attorneys fees.*

14. The total owed the Profit Sharing Plan by the Employer

 

is:
Unpaid installments under Settlement Agreement $48,809.04
Interest on Unpaid Installments $§ 2,928.54
Attorneys’ Fees $ 2,938.00
Arbitration Fees § 2,400.00
TOTAL owed the Profit Sharing Plan $57,075.58

15. The Employer has submitted to the Health Fund its
Remittance Report Forms for the months April 2019 through
November 2019, which show the “Health & Pension Hours”

 

“The firm New and Karfunkel, PC, through its member,
Benjamin Karfunkel, Esq., has submitted an itemized invoice for
all work performed in preparation and presentation of the Funds’
case at arbitration. Joint Exhibits 5a and 5b. I have reviewed
same and have determined the charges are reasonable and proper.
The total attorney's fees billed by counsel, $5,876.00, shall be
shared equally by the Health Fund and the Profit Sharing Plan,
with $2,938 in attorneys’ fees chargeable to each Fund, and
payable under this Opinion and Award by the Employer.

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worked by P3 employees covered by the Health Plan.“ The
Health Fund, in this proceeding, does not dispute the
accuracy of the reported hours, which total 7,352 for the
eight (8) month period. No contributions were made for
any of the hours reported on these Remittance Forms, and
the Health Fund has indicated the total in unpaid
contributions for the delinguent period is $65,248.88,
and the interest due on same, as of January 14, 2020, at
eighteen percent (18%) per annum is $4,208.74.” These
calculations are not disputed. The undisputed Liquidated
damages owed under the terms of the Trust Agreement (20%
of unpaid or late contributions) are $13,049.78.

16. In addition, the fifty percent (50%) of the attorneys’
fees total, payable to the Health Fund, is $2,938.00, and
one half (%) of my arbitration fees for the cancelled
March 2019 hearing, as well as the December 4, 2019,
hearing and the preparation of this Opinion and Award is
$2,400.00.

17. The total owed the Health Fund by the Employer is:

Unpaid Contributions, April through November 2019 $65,248.88

 

Interest on Unpaid Contributions $ 4,208.74

Liquidated Damages $13,049.78

Attorneys’ Fees $ 2,938.00

Arbitration Fees $ 2,400.00

TOTAL owed the Health Fund $87,845.40

JUDGMENT AGAINST THE EMPLOYER $144,920.98
* * *

 

“The Remittance Report Forms for April through October 2019
were admitted into evidence as Joint Exhibit 9. At my request,
the Funds submitted to me the Employer’s Remittance Report Form
for November 2019, received by the Health Fund after the hearing,
on or about December 20, 2019. I have incorporated that form
into Joint Exhibit 9.

“This figure was provided in the chart attached to the
January 14, 2020, email from Mr. Karfunkel, which was not
contested by the Employer.
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The foregoing Judgment is final as to the issues I am able to
decide at this time. This decision perforce cannot determine the
Funds’ total loses and damages, for under the Trust Agreements,
Joint Exhibit 1, Article VI, Section 2(b), and Joint Exhibit 6,
Article IV, Section 3(e), the Funds may identify in an action to
enforce this Judgment that additional contributions owed by the
Employer after November 2019 have not been paid, and it may
demand payment of same, including additional liquidated damages
and interest. So, too, the interest which must be paid to
satisfy fully the Funds’ claims in this case continues to accrue
until all the delinquencies, including the interest, damages and
costs ordered herein, are paid. I shall retain jurisdiction, if
necessary, to decide any disputes arising out of these
obligations of the Employer.

Accordingly, based on the foregoing, I make the following

Award:
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AWARD

1. Based upon my careful review of the arbitration record,
and as explained in the foregoing Decision, I find the
Employer, P3 Transportation LLC, is liable to the Funds
for the following unpaid contributions, interest thereon,
liquidated damages and costs:

To the Profit Sharing Plan: $57,075.58
To the Health Fund: $87,845.40

JUDGMENT AGAINST THE EMPLOYER IS FOR $144,920.98

2. I shall retain jurisdiction, 1f necessary, to decide any
disputes arising out of these and related obligations of
the Employer, as discussed herein.

Dated: January 7L, 2020. a a

Barl R. Pfeffer, Arbitrator

 

STATE OF NEW JERSEY }
) ss.:
COUNTY OF ESSEX )

I, EARL R. PFEFFER, do hereby affirm upon my oath as
Arbitrator that I am the individual described herein and who
executed this instrument, which is my Award.

Dated: January LL, 2020. FAO

Barl R. Pfeffer, Arbitrator
